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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

In re:                                                  Chapter 11

USA GYMNASTICS, INC.,                                   Case No. 18-09108-RLM-11

Debtor.                                                 Adv. Proc. No. 1:19-ap-50012


USA GYMNASTICS, INC.,                                   )
                                                        )
Plaintiff,                                              )
                                                        )
                vs.                                     )
                                                        )
ACE AMERICAN INSURANCE COMPANY f/k/a                    )
CIGNA INSURANCE COMPANY, GREAT                          )
AMERICAN ASSURANCE COMPANY, LIBERTY                     )
INSURANCE UNDERWRITERS INC., NATIONAL                   )
CASUALTY COMPANY, RSUI INDEMNITY                        )
COMPANY, TIG INSURANCE COMPANY,                         )
VIRGINIA SURETY COMPANY, INC. f/k/a                     )
COMBINED SPECIALTY INSURANCE                            )
COMPANY, WESTERN WORLD INSURANCE                        )
COMPANY, ENDURANCE AMERICAN                             )
INSURANCE COMPANY, AMERICAN                             )
INTERNATIONAL GROUP, INC., AMERICAN                     )
HOME ASSURANCE COMPANY, and DOE                         )
INSURERS,                                               )
                                                        )
Defendants.                                             )

   USA GYMNASTICS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST
                               CHUBB

          Under Fed. R. Civ. P. 56(a); Fed. R. Bankr. P. 7056; and S.D. Ind. B-7056-1(a), Debtor

and adversary plaintiff USA Gymnastics (“USAG”) respectfully moves for partial summary

judgment against defendant Ace American Insurance Company, f/k/a CIGNA Insurance

Company (collectively, “Chubb”). In support of its motion, USAG states the following:

          1.     Chubb sold three primary and three excess insurance policies to USAG between

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1998 and 2001. [Dkt. 2-6; Dkt. 2-7; and Dkt. 2-8, at 1–284; MP_000595–1321; Compl. Ex. 4,

Tabs 17–22.] The policies, and the proceeds thereof, are critical to USAG’s ability to resolve

claims asserted by individuals who allege that USAG is legally responsible for sexual abuse

committed by former USAG volunteer Larry Nassar or by other persons (collectively, the

“Sexual Abuse Claims”).

       2.      Each excess policy provides a $10 million aggregate limit. The applicable

coverage of each primary policy annually provides $1 million in limits per perpetrator for “Each

Act” of sexual abuse, up to $5 million in the aggregate. Collectively, the policies provide $45

million in aggregate limits ($30 million total for the three $10 million excess policies, and $15

million total for the $5 million aggregate primary policies).

       3.      Chubb contends that it only has $11 million in total limits for the Nassar-related

claims. It contends that the Limits of Insurance term in the three primary policies “channel” all

claims involving a single perpetrator under one policy’s “Each Act” limit. Thus, Chubb argues

that its maximum exposure is one primary limit and one excess limit, for a total of $11 million.

       4.      As further explained in the attached brief, these coverage denials are wrongful.

Chubb’s policies should provide up to $33 million for the Nassar-related claims, and $45 million

in aggregate limits for all sexual-abuse claims.

       5.      Chubb’s coverage position on the excess policies borders on the frivolous. The

language that forms the basis for Chubb’s “channeling” argument is part of the primary policies’

“Limits of Insurance” section. The excess policies, however, state that they disregard anything

“related to” the limits provisions of the primary policies and anything “inconsistent with” the

excess policies’ terms. Thus, the primary policies’ channeling language does not govern the

excess policies. Chubb’s attempt to impose these limits terms onto the excess policies is also



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inconsistent with other terms in the excess policies, which measure coverage on a “per

occurrence” basis and confer a new $10 million limit for each annual policy period.

       6.      Chubb’s position on the primary policies is also wrong. The “Physical Abuse or

Sexual Misconduct Liability Coverage” at issue in these policies restrict Chubb’s liability for

multiple acts of abuse to one “Each Act” limit per perpetrator, regardless of the number of

survivors, occurrences, or locations involved. But the policy does not contain any language

“channeling” claims from multiple policy periods into a single policy’s limit. Other insurers have

included such terms in their policies. Chubb did not. To the contrary, the language Chubb used

actually supports the notion that only claims within the same policy period are aggregated. At the

very least, Chubb’s primary policy language is ambiguous, and so must be construed in favor of

coverage.

       THEREFORE, USAG respectfully requests that the Court GRANT this motion and

award the following relief:

       A.      Declare that the three Chubb excess policies each provide $10 million in

aggregate limits, totaling $30 million in limits across all policy periods;

       B.        Declare that each of the three Chubb primary policies provide $1 million per

perpetrator in limits up to $5 million in the aggregate annually (meaning there is $3 million in

limits for Nassar-related claims across all primary policy periods); and

       C.      Award any other just or appropriate relief.

August 7, 2019                                 Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 7, 2019, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case
Filing System. Parties may access this filing through the Court’s system.

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